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12
                               UNITED STATES DISTRICT COURT
13
                              NORTHERN DISTRICT OF CALIFORNIA
14
                                  SAN FRANCISCO DIVISION
15

16   FRANCESCO CORALLO,                         Case No. 3:22-cv-05229-RS

17               Plaintiff,                     DEFENDANTS NSO GROUP
                                                TECHNOLOGIES LIMITED AND Q
18         v.                                   CYBER TECHNOLOGIES LIMITED’S
                                                ADMINISTRATIVE MOTION TO
19   NSO GROUP TECHNOLOGIES LIMITED,            CONTINUE CASE MANAGEMENT
     Q CYBER TECHNOLOGIES LIMITED,              CONFERENCE
20   and APPLE, INC.
                                                Judge: Hon. Richard Seeborg
21               Defendants.
                                                Action Filed: 09/13/2022
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     DEFENDANTS’ ADMINISTRATIVE                                   Case No. 3:22-cv-05229-RS
     MOTION TO CONTINUE CASE
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 1   I.       INTRODUCTION

 2            Pursuant to Civil Local Rules 16-2(d) and 7-11, Defendants NSO Group Technologies

 3   Limited and Q Cyber Technologies Limited (collectively, “NSO”) respectfully submit this

 4   Administrative Motion requesting that the case management conference currently set for August

 5   1, 2024, be continued. The Court itself has continued the case management conference multiple

 6   times because both NSO and Defendant Apple, Inc. have dispositive motions pending, either of

 7   which could drastically affect any case management or discovery plan. In addition, counsel for

 8   NSO may be required to appear at a motion hearing in another matter on August 1, 2024, the same

 9   date to which the Court previously continued the case management conference. Accordingly, NSO

10   requests that the case management conference be continued to September 26, 2024, or to a

11   subsequent date convenient for the Court.

12   II.      ARGUMENT

13            A continuance may be granted upon a showing of (1) the circumstances supporting the

14   request; (2) an affirmance that the movant met and conferred with all other counsel and a summary

15   of their positions; (3) a proposed revised case management schedule; and (4) if applicable, a

16   summary of any required changes in the ADR process or existing case schedule. See Civil L.R.

17 16-2(d).

18            Good cause exists to continue the case management conference. First, Apple’s and NSO’s

19 dispositive motions remain pending. The requested continuance is thus consistent with the Court’s

20 own general practice of deferring the initial case management conference until dispositive motions

21 are resolved. (See Dkt. No. 51 at 1.) The continuance would be particularly appropriate in this

22 case, given that NSO is seeking dismissal (among other reasons) based on the extraordinary

23 burdens that discovery would impose on it. (See, e.g., Dkt. No. 107 at 7-11; Dkt. No. 120 at 4-8.)

24 Indeed, if the Court were to grant either motion, even in part, it could alter the scope of discovery

25 and motions practice (or completely obviate the need for discovery in the first instance) or alter

26 the parties’ proposed case management schedule(s). Additionally, the Court recently continued

27 the case management conference to August 1, 2024 of its own accord. (See Dkt. No. 136.) Counsel

28 for NSO may be required to appear at a motion hearing in another matter on that same date. (See
     DEFENDANTS’ ADMINISTRATIVE                    1                   Case No. 3:22-cv-05229-RS
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 1   Akro. Decl. ¶ 4.)

 2          With respect to the remaining factors set forth in Civil Local Rule 16-2(d), NSO attempted

 3   to negotiate a stipulated continuance with Plaintiff and Defendant Apple. (Id.¶ 3.) NSO requested

 4 that the case management conference be continued to a date after September 16, 2024, in part due

 5 to the pending dispositive motions, in part due to a potential conflict on August 1, 2024, and in

 6 part due to its lead counsel’s conflicts in late August and the first two weeks of September—

 7   including international travel for depositions in another matter. (Id. ¶¶ 3, 5.) Apple was amenable,

 8   Plaintiff was not—despite Plaintiff’s counsel having taken no steps to initiate a Rule 26(f)

 9   conference before the deadline on July 11, 2024, or to otherwise confer regarding case

10   management. (See id. ¶¶ 2-3.) Because the Court is unavailable on Thursday, September 19, 2024,

11   NSO thus filed this motion requesting that the case management conference be continued until

12   Thursday, September 26, 2024, or to a later date convenient for the Court. No ADR process or

13   other schedule in the case has been set.

14   III.   CONCLUSION

15          For the foregoing reasons, NSO respectfully requests that the Court continue the existing

16   case management conference to September 26, 2024, or to a later date convenient for the Court.

17

18   DATED: July 19, 2024                             KING & SPALDING LLP
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       MOTION TO CONTINUE CASE
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